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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

DONALD J. TRUMP FOR PRESIDENT, INC.,
MATTHEW SEELY, ALEXANDRA SEELY,
PHILIP O’HALLORAN, ERIC OSTERGREN,
MARIAN SHERIDAN, MERCEDES WIRSING,
and CAMERON TARSA,
                                              CIVIL ACTION
                   Plaintiffs,
      v.
                                              Case No. 1:20-cv-01083-JTN-PJG
JOCELYN BENSON, in her official capacity as
Michigan Secretary of State, MICHIGAN         Hon. Janet T. Neff
BOARD OF STATE CANVASSERS, WAYNE
COUNTY, MICHIGAN, and WAYNE COUNTY
BOARD OF COUNTY CANVASSERS,

                   Defendants.



 PROPOSED INTERVENOR-DEFENDANTS DNC AND MICHIGAN DEMOCRATIC
PARTY’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT FOR DECLARATORY,
          EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF
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                          CONCISE STATEMENT OF REASONS

1.    Under well-established abstention principles, this Court should defer to ongoing state court

      proceedings.

2.    The Eleventh Amendment bars Plaintiffs claims because this Court cannot require state

      officials to conform to state law.

3.    Plaintiffs’ complaint should be dismissed because Plaintiffs lack both Article III and

      prudential standing to bring these claims.

4.    Plaintiffs’ complaint should be dismissed because their constitutional and statutory claims

      fail as a matter of law.




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                                     I.      INTRODUCTION

       The people of Michigan have spoken. On November 3, 2020, more than 5.5 million

Michiganders—a new record—cast their votes in races up and down the ballot. Their votes have

since been received, processed, and canvassed by a dedicated team of election officials and

volunteers, operating under intense scrutiny in the midst of a public health crisis. Every major

news outlet has called Michigan for former vice president Joe Biden—unsurprisingly, as he leads

by nearly 150,000 votes and a margin of 2.6 percent—and, based on national election results,

designated him president-elect.

       Dissatisfied with this result and unwilling to accept it, Plaintiffs, including Donald J.

Trump for President, Inc. (the “Trump Campaign”), filed this suit in an apparent attempt to sow

doubt about the results of the election. But their claims constitute mere intrigue and fantasy,

divorced from reality and the successful—indeed, heroic—administration of this election by state

and local officials. Supported only by flimsy evidence and rank generalizations, the Trump

Campaign seeks extraordinary and unprecedented relief from this Court, including a halt to the

certification of the entire state’s duly counted votes.

       The Trump Campaign and its allies are pursuing multiple avenues to obtain their requested

relief, all of which have thus far failed. Although they currently have substantially similar actions

pending in state court, they have simultaneously sought refuge in a federal forum, demanding that

this Court disregard bedrock principles of federalism and comity and Article III’s jurisdictional

requirements. This Court should promptly dismiss Plaintiffs’ complaint for lack of subject matter

jurisdiction and failure to state a claim on which relief can be granted, and the certification of

Michigan’s returns should proceed.

       As the Trump Campaign aptly put it four years ago, “there is no reason to rewrite Michigan



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election law to accommodate the conspiracy-minded requests of an acknowledged loser.” Donald

J. Trump & Donald J. Trump for President, Inc.’s Objections to Dr. Jill Stein’s Recount Pet., In re

Pet. for Recount for Office of President of U.S. of Am. (Mich. Bd. of State Canvassers Dec. 1,

2016) (attached as Ex. 14).1 This latest lawsuit is just one more distraction to disrupt the timely

and orderly completion of the democratic process, the latest salvo in an increasingly desperate

campaign to overturn the will of the people. Because Plaintiffs’ claims are premised on

noncognizable legal theories and implausible allegations of widespread electoral malfeasance, this

Court should not grant the relief they seek, and their complaint should be dismissed.

                                    II.     BACKGROUND

A.     Michigan’s Election Laws

       In Michigan, poll workers—known as “election inspectors”—are registered Michigan

voters, each of whom has been deemed by the local clerk to have “a good reputation” and

“sufficient education and clerical ability” to perform the necessary duties, Mich. Comp. Laws

§ 168.677, and has taken an oath of office both to support the federal and state constitutions and

to “faithfully discharge the duties of the office of inspector of elections according to the best of

[their] ability,” id. § 168.680; see also id. § 168.674 (providing that election inspectors’

qualifications are subject to challenge by county chairs of major political parties). Election

inspectors shoulder the burden of ensuring polling places and counting boards run smoothly while

also overseeing certain tasks, such as duplication of ballots, which might be necessary when a

ballot cannot be read by a machine or a military or overseas ballot needs to be transcribed into a

machine-readable ballot.



1
 Exhibit cites refer to the exhibits attached to Proposed Intervenor-Defendants DNC and Michigan
Democratic Party’s motion to intervene, filed concurrently.

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       Election “challengers,” by contrast, are volunteers appointed by political parties or other

organized groups who can challenge the validity of absent voter ballots at one of two locations: a

precinct or an absent voter counting board (“AVCB”). Id. § 168.730(1). Challengers may:

(1) observe the manner in which election inspectors perform their duties, (2) challenge the validity

of ballots, (3) challenge election procedures not properly performed, or (4) bring various election

code violations to the attention of election inspectors. Id. § 168.733(1). Challengers may only

challenge a voter whom they have “good reason to believe is not a registered elector.” Id.

§ 168.733(1)(c). Challengers are prohibited from engaging in “disorderly conduct” or voter

intimidation. Id. §§ 168.733(3), 168.733(4). They may not “make a challenge indiscriminately,”

“handle the poll books . . . or the ballots,” or “interfere with or unduly delay the work of the

election inspectors.” Id. § 168.727(3). They must also take an oath not to communicate any

information about the “processing and tallying of votes . . . until after the polls are closed.” Id.

§ 168.765a(9). Challengers’ misbehavior may result in criminal penalties. See id. § 168.727(3).

       Michigan law limits the number of challengers at precincts to “not more than 2” and at

counting boards to “not more than 1” per entity, whether a political party or other certifying group.

Id. § 168.730. Once challengers are duly appointed and accepted into the precinct or AVCB,

election inspectors may not prevent their presence, id. § 168.734, and must provide them with a

space where they may observe ballot counting, id. § 168.733(2). The Legislature further vested in

Defendant Jocelyn Benson, the Michigan Secretary of State (the “Secretary”), the authority to

issue “instructions . . . for the conduct of absent voter counting boards or combined absent voter

counting boards.” Id. § 168.765a(13). Pursuant to that authority, the Secretary allowed local




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jurisdictions to determine, for the purposes of combined AVCBs,2 “how and under what conditions

challengers and other individuals permitted into the facility will be allowed in.” Absent Voter

Ballot    Election   Day    Processing,     Mich.       Bureau   of   Elections   11   (Oct.    2020),

https://www.michigan.gov/documents/sos/VIII_Absent_Voter_County_Boards_265998_7.pdf.3

In every election, officials must balance challengers’ right of access with election inspectors’ need

to do their work in limited available space. During this past election, Michigan’s officials needed

to grapple with not only how to conduct an orderly election, but also how best to safely allow

individuals access to polling places in light of the COVID-19 pandemic and the social distancing

required to prevent transmission of the virus.

B.       State Court Lawsuits

         In the eleven days following election day, various challenges to Michigan’s election

procedures and results have been filed in state court, including a previous lawsuit filed by two

Plaintiffs in this action: the Trump Campaign and Eric Ostergren. In that case, which featured

many of the same claims now raised here, the Trump Campaign sought an immediate cessation of

the counting of absentee ballots based on allegations of insufficient oversight. See Verified Compl.


2
 “[C]ity or townships may enter into agreements with each other or with the county to operate a
combined absent voter counting board. In general, the same rules and procedures apply to
combined absent voter counting boards that apply to other absent voter counting boards.” Absent
Voter Ballot Election Day Processing, Mich. Bureau of Elections 10 (Oct. 2020),
https://www.michigan.gov/documents/sos/VIII_Absent_Voter_County_Boards_265998_7.pdf.
3
  “When considering whether to grant a Rule . . . 12(b)(6) motion,” the Court may consider
“matters of public record (e.g. pleadings, orders and other papers on file in another action pending
in the court; records or reports of administrative bodies; or the legislative history of laws, rules or
ordinances) as long as the facts noticed are not subject to reasonable dispute.” Lozar v. Birds Eye
Foods, Inc., 678 F. Supp. 2d 589, 599 (W.D. Mich. 2009) (quoting Pakootas v. Teck Cominco
Metals, Ltd., 632 F. Supp. 2d 1029, 1032 (E.D. Wash. 2009)); see also United States ex rel.
Modglin v. DJO Glob. Inc., 48 F. Supp. 3d 1362, 1381 (C.D. Cal. 2014) (courts may take judicial
notice of “‘government documents available from reliable sources on the Internet,’ such as
websites run by governmental agencies” (quoting Hansen Beverage Co. v. Innovation Ventures,
LLC, No. 08-CV-1166-IEG (POR), 2009 WL 6597891, at *2 (S.D. Cal. Dec. 23, 2009))).

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for Immediate Declaratory & Injunctive Relief, Donald J. Trump for President, Inc. v. Benson,

No. 20-000225-MZ (Mich. Ct. Cl. Nov. 4, 2020) (attached as Ex. 7). The Michigan Court of

Claims denied the Trump Campaign’s emergency motion for declaratory relief, concluding that it

was unlikely to succeed on the merits and that, even “overlooking the problems with the factual

and evidentiary record,” the matter had become moot because “the complaint and emergency

motion were not filed until approximately 4:00 p.m. on November 4, 2020—despite being

announced to various media outlets much earlier in the day.” Donald J. Trump for President, Inc.

v. Benson, No. 20-000225-MZ, slip op. at 5 (Mich. Ct. Cl. Nov. 6, 2020) (attached as Ex. 8). The

Trump Campaign has since sought an appeal. See Mot. for Immediate Consideration of Appeal

Under MCR 7.211(C)(6), Donald J. Trump for President, Inc. v. Benson, No. 20-000225-MZ

(Mich. Ct. App. Nov. 6, 2020) (attached as Ex. 9).

       Other election-related challenges have been similarly rejected as having no legal or factual

merit. On election day, the Michigan Court of Claims denied an emergency motion to increase, at

the eleventh hour and without any legal justification, the number of challengers allowed at the

Oakland County vote center. See Polasek-Savage v. Benson, No. 20-000217-MM, slip op. at 3

(Mich. Ct. Cl. Nov. 3, 2020) (attached as Ex. 10). On November 6, the Third Judicial Circuit Court

for Wayne County rejected an effort to delay certification of that County’s ballots:

       This Court finds that it is mere speculation by plaintiffs that hundreds or thousands
       of ballots have, in fact, been changed and presumably falsified. . . .

       A delay in counting and finalizing the votes from the City of Detroit without any
       evidentiary basis for doing so, engenders a lack of confidence in the City of Detroit
       to conduct full and fair elections. The City of Detroit should not be harmed when
       there is no evidence to support accusations of voter fraud.

Stoddard v. City Election Comm’n, No. 20-014604-CZ, slip op. at 4 (Mich. Cir. Ct. Nov. 6, 2020)

(attached as Ex. 11).



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       And on November 13, the Third Judicial Circuit Court denied the plaintiffs’ motion for

preliminary injunction in another challenge to Wayne County’s returns. See Costantino v. City of

Detroit, No. 20-014780-AW, slip op. at 13 (Mich. Cir. Ct. Nov. 13, 2020) (attached as Ex. 13).

After discounting affidavits reporting vague allegations of suspicious conduct at TCF Center and

concluding that the “[p]laintiffs’ interpretation of events is incorrect and not credible,” the court

observed that

       [i]t would be an unprecedented exercise of judicial activism for this Court to stop
       the certification process of the Wayne County Board of Canvassers. . . .

       Waiting for the Court to locate and appoint an independent, nonpartisan auditor to
       examine the votes, reach a conclusion and then finally report to the Court would
       involve untold delay. It would cause delay in establishing the Presidential vote
       tabulation, as well as all other County and State races. It would also undermine faith
       in the Electoral System.

Id. at 11–13.

       These cases remain ongoing.

C.     Plaintiffs’ Complaint

       More than a week after election day—and well after the tabulation of ballots in Wayne

County and elsewhere in Michigan concluded—Plaintiffs filed this suit. Most of their complaint,

like the 200-plus pages of exhibits accompanying it, consists of declarations and testimonials from

individuals who observed alleged irregularities in Wayne County’s processing of ballots. From

this hodgepodge of allegations, Plaintiffs derive three claims: Count I, which alleges that the

“failure to allow challengers and [the] counting of ineligible and illegal ballots . . . diluted the

lawful ballots of these plaintiffs and of other Michigan voters” in violation of the Equal Protection

Clauses of the U.S. and Michigan Constitutions, Compl. ¶¶ 76–80; Count II, which claims that

Defendants violated the U.S. Constitution’s Elections and Electors Clauses by departing from

Michigan’s Election Code and “preventing Republican challengers from meaningfully observing


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and participating in the ballot processing and counting process,” id. ¶¶ 81–84; and Count III, which

similarly alleges violations of Michigan’s Election Code provisions relating to election

challengers, id. ¶¶ 85–88.

                                  III.    LEGAL STANDARD

       Whether a party has Article III standing is properly addressed as a question of a court’s

subject matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1). See Lyshe v. Levy, 854

F.3d 855, 857 (6th Cir. 2017). Unlike a motion to dismiss for failure to state a claim under Rule

12(b)(6), “where subject matter jurisdiction is challenged under Rule 12(b)(1)[,] . . . the plaintiff

has the burden of proving jurisdiction in order to survive the motion.” RMI Titanium Co. v.

Westinghouse Elec. Corp., 78 F.3d 1125, 1134 (6th Cir. 1996) (emphasis omitted) (quoting Rogers

v. Stratton Indus., Inc., 798 F.2d 913, 915 (6th Cir. 1986)).

       When considering a Rule 12(b)(6) motion to dismiss for failure to state a claim, a court

presumes that all well-pleaded material allegations in the complaint are true, see Total Benefits

Plan. Agency v. Anthem Blue Cross & Blue Shield, 552 F.3d 430, 434 (6th Cir. 2008), but “a

plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration in original) (quoting Fed. R. Civ.

P. 8(a)). Courts need not accept as true legal conclusions or unwarranted factual inferences. See

Total Benefits Plan., 552 F.3d at 434.




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                                       IV.     ARGUMENT

A.     This Court should abstain in deference to ongoing state court proceedings.

       At the outset, the Court need not reach the merits of Plaintiffs’ claims to dismiss this

lawsuit. Under well-established abstention principles, Plaintiffs’ challenge to Michigan’s

administration of its election under state law should proceed in pending state court proceedings.

       In bringing this suit, Plaintiffs seek to bypass both state law remedies—which are designed

specifically to address the types of grievances over the tabulation of votes and certification of

results that Plaintiffs have raised here—and unfavorable rulings in ongoing state court

proceedings. The relief Plaintiffs seek calls for an extraordinary intrusion on state sovereignty by

a federal court, and principles of federalism and comity counsel strongly in favor of, and indeed

may well require, adjudication of these claims through the well-established state law procedures

for election contests. See González-Cancel v. Partido Nuevo Progresista, 696 F.3d 115, 120 (1st

Cir. 2012) (“Where, as here, a plaintiff is aware of, yet fails to fully use, an adequate state

administrative or judicial process to address a local election dispute, a claim that the election

process created fundamental unfairness to warrant federal intervention cannot survive.”); see also

Costantino, slip op. at 10–12 (describing remedies under Michigan law for election challenges)

(attached as Ex. 13).

       Under the abstention doctrine set forth in Railroad Commission v. Pullman Co., 312 U.S.

496 (1941), federal courts should “avoid exercising jurisdiction in cases involving an ambiguous

state statute that may be interpreted by state courts so as to eliminate, or at least alter materially,

the constitutional question raised in federal court.” Lawrence v. Pelton, 413 F. Supp. 3d 701, 709

(W.D. Mich. 2019) (quoting Fowler v. Benson, 924 F.3d 247, 255 (6th Cir. 2019)). This doctrine

“acknowledges that federal courts should avoid the unnecessary resolution of federal constitutional



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issues and that state courts provide the authoritative adjudication of questions of state law.” Brown

v. Tidwell, 169 F.3d 330, 332 (6th Cir. 1999) (quoting Brockett v. Spokane Arcades, Inc., 472 U.S.

491, 508 (1985)). Abstention thus reflects the federal judiciary’s “scrupulous regard for the rightful

independence of the state governments.” Pullman, 312 U.S. at 501. Abstention is appropriate if

the Court finds that (1) “state law is unclear,” and (2) “a clarification of that law would preclude

the need to adjudicate the federal question.” Hunter v. Hamilton Cnty. Bd. of Elections, 635 F.3d

219, 233 (6th Cir. 2011). Both requirements are easily met here.

       First, Plaintiffs’ federal constitutional claims center on unresolved questions of state law.

The complaint expressly alleges that Plaintiffs’ claims hinge on violations of Michigan’s Election

Code, see Compl. ¶¶ 77–78, 80, 83–84, and Plaintiffs devote a substantial portion of the complaint

to describing various provisions of the Michigan Compiled Laws, see id. ¶¶ 20–23, 56–58, 67.

Plaintiffs contend that certain Republican Party election challengers could not enter the ballot

counting location, were not allowed sufficiently close to counting tables, and could not view the

processing or counting of ballots when election officials blocked their view. Plaintiffs further claim

that, accordingly, the challengers could not “meaningfully” observe ballot processing and counting

and that this “violated [a] statutory guarantee.” Id. ¶ 83; see also id. ¶ 80 (alleging that Secretary

failed to require Wayne County “to conduct the general election in a uniform manner as required

by Michigan’s Election Code”). This is purely a question of state law that should be addressed and

adjudicated by a state court.

       Plaintiffs’ objections to the eligibility of particular ballots and their claims about video

monitoring of unattended ballot drop boxes likewise turn on questions of state law. As noted above,

there are multiple suits ongoing in state court on these very same issues, one of which involves

substantially the same parties, see Exs. 7–9, and another of which Plaintiffs themselves cite to



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support their federal court claims. See Compl. ¶ 55 (noting that Costantino “raises similar

allegations of voter fraud and irregularities”). However, rather than properly appealing in the

Michigan courts, Plaintiffs improperly seek a second opinion in federal court. Under these

circumstances, abstention is the correct course.

       Second, clarification of these state law issues would preclude the need to adjudicate the

federal questions in this case. If reviewing state courts in the (similarly captioned) state case

Donald J. Trump for President, Inc. v. Benson or in Costantino were to definitively interpret

Michigan law and enforce state law procedures for adjudicating challenges to election results, then

there would be nothing left for this Court to decide. Indeed, in the absence of a higher court

decision, the trial court decisions in both state cases are dispositive and suggest that it is highly

likely that the state law questions will be resolved in Defendants’ favor. See West v. AT&T Co.,

311 U.S. 223, 236–37 (1940) (noting that “a federal court is not free to reject” rules of decision

issued by state courts “merely because it has not received the sanction of the highest state court”).

Any analysis of Plaintiffs’ claims in this Court would begin with an interpretation of the Michigan

statutory provisions that were allegedly violated; if Plaintiffs are incorrect that the conduct alleged

violates Michigan law—as state trial courts have already concluded—then they cannot succeed

on their equal protection claim or their claim under the Elections and Electors Clauses. See Compl.

¶¶ 77–78, 80, 83–84 (alleging that Defendants committed constitutional violations when they

failed to conduct election as required by Michigan’s Election Code).

       In short, allowing Michigan courts to interpret these state law questions “may obviate the

federal claims” and “eliminate the need to reach the federal question,” and this Court should

therefore abstain. GTE N., Inc. v. Strand, 209 F.3d 909, 921 (6th Cir. 2000); see also Georgevich

v. Strauss, 772 F.2d 1078, 1094–95 (3d Cir. 1985) (abstaining where “state law appears to resolve



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the sole issue in the case” and thus it “may be more appropriately resolved in state court,” and

noting that “[i]f we do not need to intrude, we should not”).4

       Moreover, Colorado River Water Conservation District v. United States, 424 U.S. 800

(1976), also counsels in favor of abstention. This doctrine encourages “abstention in favor of

ongoing, parallel state proceedings in cases where ‘considerations of wise judicial administration,

giving regard to conservation of judicial resources and comprehensive disposition of litigation’

clearly favor abstention.” Ackerman v. ExxonMobil Corp., 734 F.3d 237, 248 (4th Cir. 2013)

(quoting Colo. River, 424 U.S. at 817). “The threshold question in a Colorado River inquiry is

whether the pending state and federal suits are parallel,” id., and that requirement is satisfied here

because the Trump Campaign and Plaintiff Ostergren are currently involved in a state court action

that implicates the same issues of Michigan law. See Exs. 7–9.5 The other relevant factors under

this doctrine—including avoiding piecemeal litigation, the order and relative progress of the cases,

the critical issues of state law at stake, and the adequacy of the state court to continue addressing

these issues—also weigh heavily in favor of abstention. See Preferred Care of Del., Inc. v.

VanArsdale, 676 F. App’x 388, 395 (6th Cir. 2017).




4
  Another federal court facing similar claims related to this election concluded that abstention was
proper, rejecting the plaintiffs’ request “to find that state officials have wrongly interpreted state
law” where “an alternative appropriately exists with the . . . state courts.” Donald J. Trump for
President, Inc. v. Boockvar, No. 2:20-cv-966, 2020 WL 4920952, at *17 (W.D. Pa. Aug. 23, 2020)
(quoting Fuente v. Cortes, 207 F. Supp. 3d 441, 452 (M.D. Pa. 2016)).
5
  Parallelism in this case is not defeated simply because the state court litigation does not raise
identical claims; it is sufficient that the claims in this case are “predicated on the same allegations
as to the same material facts.” Romine v. Compuserve Corp., 160 F.3d 337, 340 (6th Cir. 1998).
Nor does it matter that this case contains additional Plaintiffs; the Sixth Circuit has “never held
that identity of parties is required for parallelism. In fact, [it has] held the opposite.” Healthcare
Co. v. Upward Mobility, Inc., 784 F. App’x 390, 395 (6th Cir. 2019); cf. Lumen Constr., Inc. v.
Brant Constr. Co, 780 F.2d 691, 695 (7th Cir. 1985) (“If the rule were otherwise, the Colorado
River doctrine could be entirely avoided by the simple expedient of naming additional parties.”).

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        Finally, Plaintiffs’ claims are precluded under Burford abstention, which is appropriate, as

here, “where timely and adequate state-court review is available and (1) a case presents ‘difficult

questions of state law bearing on policy problems of substantial public import whose importance

transcends the case at bar,’ or (2) the ‘exercise of federal review of the question in a case and in

similar cases would be disruptive of state efforts to establish a coherent policy with respect to a

matter of substantial public concern.’” Caudill v. Eubanks Farms, Inc., 301 F.3d 658, 660 (6th Cir.

2002) (quoting New Orleans Pub. Serv., Inc. v. Council, 491 U.S. 350, 361 (1989)); see also

Burford v. Sun Oil Co., 319 U.S. 315, 334 (1943). There is simply no dispute that the conduct of

federal elections implicates a vital area of state policy. The U.S. Constitution explicitly delegates

to the states the responsibility for determining the “Times, Places, and Manner of holding

Elections,” U.S. Const. art. II, § 1, cl. 2, and the “Manner” in which it appoints presidential

electors, U.S. Const. art. I, § 4, cl. 1. Michigan therefore has a compelling interest in the orderly

administration and certification of its elections. Indeed, as Plaintiffs point out throughout their

complaint, Michigan has enacted an extensive Election Code that provides for an orderly canvass

and protects the integrity of the electoral process. Accordingly, because the State has “primary

authority over the administration of elections,” Hunter, 635 F.3d at 232, abstention is proper—this

case implicates an area where “the State’s interests are paramount” and thus “would best be

adjudicated in a state forum.” Caudill, 301 F.3d at 660 (quoting Quackenbush v. Allstate Ins. Co.,

517 U.S. 706, 728 (1996)).

        In short, the Trump Campaign should not be permitted to employ the federal courts in a

transparent effort to relitigate the same claims that continue to fail in state court. This blatant

“attempt to . . . avoid adverse rulings by the state court . . . weighs strongly in favor of abstention.”

Nakash v. Marciano, 882 F.2d 1411, 1417 (9th Cir. 1989). Indeed, if any case demands



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abstention—whether under Pullman, Colorado River, or Burford, each of which is applicable

here—it is this one.

B.     The Eleventh Amendment bars this suit.

       The Eleventh Amendment bars this Court’s exercise of judicial power to issue Plaintiffs’

requested relief because a federal court cannot order state officials to conform to state law. See

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984).

       Plaintiffs’ complaint is replete with references to what Michigan law requires, what the

Michigan Legislature intended, and how the allegedly unlawful actions of election workers in

Detroit and elsewhere violate both.6 Count III is premised exclusively on officials’ alleged

violations of state statutes. See Compl. ¶¶ 85–88 (claim premised solely on allegations that

“Secretary of State Benson and the election officials in Wayne County violated MCL 168.730-

168.734”). Even Counts I and II, though superficially couched in the language of federal

constitutional claims, at bottom allege only violations of Michigan law. See id. ¶ 77 (Count I:

alleging equal protection violation premised solely on “Wayne County’s failure to allow

challengers and its counting of ineligible and illegal ballots that did not comply with the Michigan

Election Code” (emphasis added)); id. ¶ 83 (Count II: Elections Clause and Electors Clause claim

premised solely on alleged “violat[ions]” of “Michigan statutes enacted by the legislature”

(emphasis added)). Accordingly, each of these claims requires this Court to (1) adjudicate whether

Defendants violated state law, and (2) issue a preliminary injunction requiring state officials to

comply with state law. See, e.g., id. at 30 (asking Court for “[a]n order directing Secretary Benson


6
  See, e.g., Compl. 2 (“Unfortunately, Wayne County did not conduct (and is not conducting) this
election as required by Michigan law, and Secretary of State Benson did not require Wayne County
to follow Michigan’s election code.”); id. ¶¶ 18–25 (describing Michigan law, alleging that “[t]he
Michigan Legislature adopted these provisions to prevent and deter vote fraud,” and claiming that
“Secretary Benson and Wayne County violated these provisions of Michigan law”).

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and the Michigan Board of State Canvassers to not certify the election results until they have

verified and confirmed that all ballots that were tabulated and included in the final reported election

results were cast in compliance with the provisions of the Michigan Election Code as set forth

herein.” (emphasis added)).

       This Court cannot undertake such an adjudication. As the U.S. Supreme Court explained

decades ago in Pennhurst, “the principles of federalism that underlie the Eleventh Amendment”

prohibit a federal court from granting “relief against state officials on the basis of state law,

whether prospective or retroactive.” 465 U.S. at 106; see also id. at 117 (“[A] federal suit against

state officials on the basis of state law contravenes the Eleventh Amendment when . . . the relief

sought and ordered has an impact directly on the state itself.”); In re Ohio Execution Protocol

Litig., 709 F. App’x 779, 787 (6th Cir. 2017) (“If the plaintiff sues a state official under state law

in federal court for actions taken within the scope of his authority, sovereign immunity bars the

lawsuit regardless of whether the action seeks monetary or injunctive relief.”). This is true even

where, as here, state law claims are cloaked in federal causes of action. See, e.g., Balsam v. Sec’y

of State, 607 F. App’x 177, 183–84 (3d Cir. 2015) (holding that Eleventh Amendment bars state

law claims even when “premised on violations of the federal Constitution”); Massey v. Coon, No.

87-3768, 1989 WL 884, at *2 (9th Cir. Jan. 3, 1989) (affirming dismissal of suit where “on its face

the complaint states a claim under the due process and equal protection clauses of the Constitution,

[but] these constitutional claims are entirely based on the failure of defendants to conform to state

law”); Six v. Newsom, 462 F. Supp. 3d 1060, 1073 (C.D. Cal. 2020) (denying temporary restraining

order in part because Fifth and Fourteenth Amendment claims were predicated on violations of

state law); Acosta v. Democratic City Comm., 288 F. Supp. 3d 597, 626 (E.D. Pa. 2018) (“Even

when voters attempt to ‘tie their state law claims into their federal claims,’ the Eleventh



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Amendment bars the state law claims.” (quoting Balsam, 607 F. App’x at 183)); Thompson v.

Alabama, No. 2:16-CV-783-WKW, 2017 WL 3223915, at *8 (M.D. Ala. July 28, 2017) (denying

injunction where plaintiffs’ federal constitutional claims rested on premise that state officials were

violating state law).7

        Plaintiffs ask this Court to adjudicate whether state and local officials violated state law—

and that’s it. As state officials, the Secretary and Michigan Board of State Canvassers (the “State

Board”) are indisputably shielded by the Eleventh Amendment, as are, in this case, Wayne County

and its Board of County Canvassers. Although counties are not ordinarily considered arms of the

state for Eleventh Amendment purposes, the remedies Plaintiffs seek can only be enforced by state

officials. See Mich. Comp. Laws § 168.842 (explaining that Secretary and State Board shall meet

for purposes of “ascertaining and determining the result” of election); Id. § 168.46 (explaining that

“governor shall certify” the results of the election after State Board has ascertained result); see

also Beiersdorfer v. LaRose, 397 F. Supp. 3d 1037, 1053 (N.D. Ohio 2019) (“The county boards

of elections and their members are also arms of the state.”); Porter v. Gore, 354 F. Supp. 3d 1162,

1180 (S.D. Cal. 2018) (finding that Pennhurst extends to claims against local officials where effect

would be to invalidate state law). The Eleventh Amendment bar thus extends to each Defendant

in this case.




7
  The Third Circuit’s decision in Pennsylvania Federation of Sportsmen’s Clubs, Inc. v. Hess, 297
F.3d 310 (3d Cir. 2002), is instructive. There, the plaintiffs sued the Secretary of Pennsylvania’s
Department of Environmental Protection, among others, for declaratory and injunctive relief under
the federal Surface Mining Control and Reclamation Act of 1977 (“SMCRA”). Even though the
plaintiffs’ allegations nominally alleged violations of the SMCRA, the court found that once the
state’s regulatory system was approved, “jurisdiction for its administration and enforcement
devolved on the state,” and accordingly, “prospective relief vis-à-vis that program . . . is barred in
federal court by the Eleventh Amendment.” Id. at 325.

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       All three of Plaintiffs’ claims, including those nominally styled as federal claims, are barred

under Pennhurst because they depend on an adjudication of Michigan law and state officials’

interpretation of it. In Count III, Plaintiffs allege that Defendants violated Michigan Compiled

Laws sections 168.730 and 168.734 by failing to provide election observers with adequate

opportunities to participate in and observe the processing of ballots. See Compl. ¶¶ 85–88. But “[a]

federal court may not enjoin a state official to follow state law.” Ohio ex rel. Skaggs v. Brunner,

549 F.3d 468, 479 (6th Cir. 2008). Pennhurst made clear that there is no “greater intrusion on state

sovereignty than when a federal court instructs state officials on how to conform their conduct to

state law.” 465 U.S. at 106. Because Count III is based entirely on violations of state law, and

seeks to enjoin state officials, it is plainly barred by the Eleventh Amendment.

       Counts I and II, in turn, are only ostensibly premised on violations of federal law; in

actuality, resolution of these claims depends wholly on whether state officials followed state law,

and thus they suffer from the same defect as Count III. As discussed above, when a pure issue of

state law is simply pleaded as a federal cause of action, Pennhurst bars the claim. Count I,

nominally pleaded in part as a federal equal protection claim, is based solely on perceived

violations of state law. Although Plaintiffs have styled this claim as a federal cause of action, the

substance of their allegations focuses entirely on state officials’ purported failure to “comply with

the Michigan Election Code” by allegedly counting ineligible and illegal ballots, Compl. ¶ 77, and

by failing to “conduct the general election in a uniform manner as required by Michigan’s Election

Code,” id. ¶ 80. Count I’s lack of federal character is further revealed by the fact that Plaintiffs’

theory of vote dilution cannot give rise to a federal cause of action under the Equal Protection

Clause. See, e.g., Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-cv-966, 2020 WL

5997680, at *43 (W.D. Pa. Oct. 10, 2020) (vote dilution “is not an equal-protection issue”); see



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also infra Part IV.D.2. Because Plaintiffs have not advanced a legitimate equal protection claim

under federal law, and the actual substance of their claim is predicated on violations of state law,

it is barred under Pennhurst.8

       Count II, Plaintiffs’ claim under the Elections and Electors Clauses, is barred for the same

reason. Plaintiffs’ sole allegation is that Defendants violated these clauses by “preventing

Republican challengers from meaningfully observing and participating in the ballot processing and

counting process” in violation of Michigan’s Election Code. Compl. ¶¶ 81–84. To support this

claim, Plaintiffs spend a large portion of the Complaint discussing state election law, see id. ¶¶ 18–

23, 56, 67, 69–72, and the complaint repeatedly alleges that state and county officials violated state

law, see id. ¶¶ 24, 57–59, 66. Thus, Count II is also barred by the Eleventh Amendment.

       The distinction between actual federal claims under the Elections and Electors Clauses

and, as here, state law claims merely masquerading as federal claims becomes apparent when

looking at other cases brought under these constitutional provisions. In Cook v. Gralike, for

example, the U.S. Supreme Court struck down a Missouri law that mandated a ballot designation

for any congressional candidate who refused to commit to term limits after concluding that such a

rule constituted a “‘regulation’ of congressional elections” under the Elections Clause. 531 U.S.

510, 525–26 (2001) (quoting U.S. Const. art. I, § 4, cl. 1). And in Arizona State Legislature v.

Arizona Independent Redistricting Commission, the Supreme Court upheld a law that delegated

the redistricting process to an independent commission after reaffirming that “the Legislature” as

used in the Elections Clause includes “the State’s lawmaking processes.” 576 U.S. 787, 824

(2015). In these cases, the task of federal courts was to measure state laws against federal mandates



8
 Plaintiffs also bring Count I under the Equal Protection Clause of the Michigan Constitution, see
Compl. ¶ 77; see also Mich. Const. art. I, § 2, which is indisputably barred by Pennhurst.

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set out under the Elections Clause—in the former, what is a “regulation”; in the latter, who is “the

Legislature.” No such federal question is posed here. Instead, the only issue presented in Plaintiffs’

complaint is whether officials conformed to Michigan’s Election Code. No amount of hand-

waving or ex post rationalization can change the simple fact that Count II, like Plaintiffs’ other

claims, is premised solely on violations of state law. All of their claims are therefore barred by the

Eleventh Amendment.9

C.     Plaintiffs lack standing.

       Even if this Court does not abstain, this action should be dismissed because Plaintiffs lack

both Article III and prudential standing to bring their claims.

       “The doctrine of standing asks whether a litigant is entitled to have a federal court resolve

his grievance. This inquiry involves ‘both constitutional limitations on federal-court jurisdiction

and prudential limitations on its exercise.’” Kowalski v. Tesmer, 543 U.S. 125, 128 (2004) (quoting

Warth v. Seldin, 422 U.S. 490, 498 (1975)). To avoid dismissal on Article III grounds, a plaintiff

must show (1) an injury in fact, meaning “an invasion of a legally protected interest” that is

“concrete and particularized” and “actual or imminent, not conjectural or hypothetical”; (2) a

causal connection between the injury and the defendant’s conduct, and (3) a likelihood that the

injury will be redressed by a favorable decision from the court. Spokeo, Inc. v. Robins, 136 S. Ct.


9
  Notably, federal courts regularly reject state law claims against state officials in litigation
involving election administration. See, e.g., Ohio Republican Party v. Brunner, 543 F.3d 357, 360–
61 (6th Cir. 2008) (Pennhurst bars claim that Secretary of State violated state election law); Acosta,
288 F. Supp. 3d at 628 (Eleventh Amendment bars Pennsylvania Election Code claims); Veasey
v. Perry, 29 F. Supp. 3d 896, 922 (S.D. Tex. 2014) (Eleventh Amendment bars claim that state
officials violated state constitution); Common Cause/Ga. v. Billups, 406 F. Supp. 2d 1326, 1358–
59 (N.D. Ga. 2005) (same). This is unsurprising; federal and presidential elections in particular are
entirely administered by the states, under rules proscribed by state law. See Chiafalo v.
Washington, 140 S. Ct. 2316, 2324 (2020) (U.S. Constitution “gives the States far-reaching
authority over presidential electors, absent some other constitutional constraint”).



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1540, 1547–48 (2016) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)).

Additionally, prudential considerations require that “a plaintiff generally must assert his own legal

rights and interests, and cannot rest his claim to relief on the legal rights or interests of third

parties.” Int’l Union v. Dana Corp., 278 F.3d 548, 559 (6th Cir. 2002) (quoting Warth, 422 U.S.

at 499).

        1.      Plaintiffs do not allege harms sufficient to satisfy Article III standing.

        Plaintiffs lack Article III standing because they fail to allege any “concrete and

particularized” injuries-in-fact. Lujan, 504 U.S. at 560–61. They do not allege that they were

deprived of the right to vote, nor that they or any voter submitted an absentee ballot that was

improperly rejected. See Bognet v. Sec’y of Commonwealth, No. 20-3214, slip op. at 36 (3d Cir.

Nov. 13, 2020) (attached as Ex. 15).

        Instead, Plaintiffs assert a generalized entitlement to have Defendants follow certain

procedures in canvassing other voters’ lawfully cast ballots—an injury premised on “group

political interests, not individual legal rights” that is therefore noncognizable under Article III. Gill

v. Whitford, 138 S. Ct. 1916, 1933 (2018). Plaintiffs have not suffered an injury-in-fact from what

they apparently feel was an improper application of Michigan’s challenger laws and other election

procedures. That “injury is precisely the kind of undifferentiated, generalized grievance about the

conduct of government that [the U.S. Supreme Court has] refused to countenance in the past.”

Lance v. Coffman, 549 U.S. 437, 442 (2007) (per curiam). And “[i]t is quite different from the

sorts of injuries alleged by plaintiffs in voting rights cases where” the Supreme Court has found

standing. Id. (citing Baker v. Carr, 369 U.S. 186, 207–08 (1962)); see also Bognet, slip op. at 21

(attached as Ex. 15). Plaintiffs’ dissatisfaction with the administration of the election does not

constitute a concrete, particularized injury-in-fact under Article III.



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          Plaintiffs also advance the theory that their votes have been “diluted” by the counting of

other, supposedly unlawful votes. See, e.g., Compl. ¶ 77. But this purported injury of vote-dilution-

through-unlawful balloting has been repeatedly rejected by federal courts across the country as a

viable basis for standing, and for good reason: any purported vote dilution somehow caused by the

counting of allegedly improper votes would affect all Michigan voters, not only Plaintiffs, and

therefore constitutes a generalized grievance that cannot support standing. See, e.g., Bognet, slip

op. at 36–44 (rejecting similar vote-dilution injury as “paradigmatic generalized grievance that

cannot support standing” (quoting Bognet v. Boockvar, No. 3:20-cv-215, 2020 WL 6323121, at *4

(W.D. Pa. Oct. 28, 2020))) (attached as Ex. 15); Donald J. Trump for President, Inc. v. Cegavske,

No. 2:20-CV-1445 JCM (VCF), 2020 WL 5626974, at *4 (D. Nev. Sept. 18, 2020); Martel v.

Condos, No. 5:20-cv-131, 2020 WL 5755289, at *4 (D. Vt. Sept. 16, 2020); Paher v. Cegavske,

No. 3:20-cv-00243-MMD-WGC, 2020 WL 2089813, at *5 (D. Nev. Apr. 30, 2020); Am. Civil

Rights Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D. Tex. 2015).

          The Trump Campaign also lacks standing to bring these claims. Whatever injury it might

claim on behalf of its members as to vote dilution would be just as generalized as the other

Plaintiffs’, as would its grievances regarding the alleged misapplication of Michigan’s Election

Code and its derivative claims under the Elections and Electors Clauses. See Bognet, slip op. at

21, 26–27 (finding candidate lacked standing to bring challenges under Elections and Electors

Clauses) (attached as Ex. 15). And—conspicuously—at no point does the Trump Campaign

suggest, let alone demonstrate, that the allegedly fraudulent votes cast and counted in this election

cost Donald Trump the election. All Plaintiffs lack standing, and this Court cannot adjudicate their

claims.




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       2.      Plaintiffs’ lack prudential standing to bring Count II.

       Plaintiffs also lack prudential standing to bring Count II. “Even if an injury in fact is

demonstrated, the usual rule is that a party may assert only a violation of its own rights.” Virginia

v. Am. Booksellers Ass’n, 484 U.S. 383, 392 (1988). Plaintiffs’ Count II, by contrast, “rest[s] . . .

on the legal rights or interests of third parties.’” Kowalski, 543 U.S. at 129 (quoting Warth, 422

U.S. at 499). Specifically, Count II is predicated solely on the Michigan Legislature’s purported

rights under the Elections and Electors Clauses. Plaintiffs have no standing to assert the Michigan

Legislature’s rights, nor is there a need for them to do so.

       Plaintiffs assert that the Secretary and Wayne County contravened “Michigan statutes

enacted by the legislature . . . by preventing Republican challengers from meaningfully observing

and participating in the ballot processing and counting process,” and therefore violated the

Elections and Electors Clauses, which vest authority over federal elections to “the Legislature.”

Compl. ¶¶ 81–83 (quoting U.S. Const art. I, § 4, cl. 1; U.S. Const. art. II, § 1, cl. 2). Plaintiffs,

however, have no authority or standing to assert the rights of the Michigan Legislature. See

Corman v. Torres, 287 F. Supp. 3d 558, 573 (M.D. Pa. 2018) (per curiam) (“[T]he Elections Clause

claims asserted in the verified complaint belong, if they belong to anyone, only to the Pennsylvania

General Assembly.”); Bognet, slip op. at 22 (similar) (attached as Ex. 15); cf. Lance, 549 U.S. at

442 (observing that U.S. Supreme Court’s “decisions construing the term ‘Legislature’ in the

Elections Clause [were] filed by a relator on behalf of the State rather than private citizens acting

on their own behalf”).10 Plaintiffs are not the Michigan Legislature, and they have identified no



10
  Although Corman and Lance specifically concerned the Elections Clause only, the Elections
and Electors Clauses play functionally identical roles, with the former setting the terms for
congressional elections and the latter implicating presidential elections. See Ariz. State Legislature,
576 U.S. at 839 (Roberts, C.J., dissenting) (noting that Electors Clause is “a constitutional


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“‘hindrance’ to the [Legislature’s] ability to protect [its] own interests.” Kowalski, 543 U.S. at 130

(quoting Powers v. Ohio, 499 U.S. 400, 411 (1991)). “Absent a ‘hindrance’ to the third-party’s

ability to defend its own rights, this prudential limitation on standing cannot be excused.” Corman,

287 F. Supp. 3d at 572 (quoting Kowalski, 543 U.S. at 130). Count II should therefore be

dismissed.11

D.      Plaintiffs fail to state claims on which relief can be granted.

        Even if this Court had jurisdiction to consider Plaintiffs’ claims, their complaint should be

dismissed pursuant to Rule 12(b)(6). Plaintiffs’ constitutional and statutory claims fail as a matter

of law, and they have failed to create a plausible inference of widespread fraud and malfeasance

that justifies the extraordinary relief they seek from this Court.

        1.      Plaintiffs’ claims are simply not plausible.

        Even before delving into their causes of action, Plaintiffs’ complaint fails as a matter of

first principles. Plaintiffs in federal court must allege “enough facts to state a claim to relief that is

plausible on its face.” Twombly, 550 U.S. at 570. Although Rule 12(b)(6) requires that allegations

be viewed in the light most favorable to the nonmovant, this posture does not dispense with Rule

8’s mandate of basic plausibility.




provision with considerable similarity to the Elections Clause”); Foster v. Love, 522 U.S. 67, 69
(1997) (referring to Electors Clause as Elections Clause’s “counterpart for the Executive Branch”);
Millsaps v. Thompson, 259 F.3d 535, 538 (6th Cir. 2001) (same). Cases interpreting “the
Legislature” in the context of the Elections Clause thus inform application of the Electors Clause.
See Bognet, slip op. at 22 (applying same standing analysis to Elections Clause and Electors Clause
claims) (attached as Ex. 15).
11
   The Third Circuit’s recent opinion in Bognet is instructive. There, the plaintiffs—“four
individual voters and a candidate for federal office”—brought similar challenges to Pennsylvania’s
election rules that the court denied because “they lack standing to sue over the alleged usurpation
of the General Assembly’s rights under the Elections and Electors Clauses.” Bognet, slip op. at
22–23 (attached as Ex. 15).

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       Plaintiffs have utterly failed in this regard. At heart, their complaint suggests a massive,

coordinated effort among election officials and volunteers to perpetrate electoral fraud,

disenfranchise Republicans, and swing a presidential election—all under the gaze of dozens of

election challengers whose presence and oversight at counting facilities is confirmed by the

hundreds of pages of affidavits from election challengers that Plaintiffs include with their

complaint. And yet despite this intense scrutiny, all Plaintiffs can produce to support their narrative

of widespread malefaction are isolated allegations of apparent misconduct and allegedly suspicious

activities, couched in vague terms without any specific details—such as how many allegedly

invalid ballots were counted, how many ballots were allegedly altered, and how many ballots were

supposedly duplicated incorrectly.12

       The U.S. Supreme Court has instructed that “[d]etermining whether a complaint states a

plausible claim for relief” is “a context-specific task that requires the reviewing court to draw on

its judicial experience and common sense.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). It

challenges both experience and common sense to accept Plaintiffs’ overarching theory of

widespread fraud, and under applicable pleading standards, this Court need not credit their




12
   Indeed, fundamental pleading standards require “[a]t a minimum” that allegations of fraud
“specify the ‘who, what, when, where, and how’ of the alleged fraud.” Sanderson v. HCA-
Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006) (quoting United States ex rel. Thompson v.
Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.1997)); see also id. (concluding that
plaintiffs failed to satisfy pleading standard where they included nothing “to alert the defendants
‘to the precise misconduct with which they are charged and [to] protect[] defendants against
spurious charges of immoral and fraudulent behavior’” (alterations in original) (quoting United
States ex rel. Clausen v. Lab’y Corp. of Am., 290 F.3d 1301, 1310 (11th Cir. 2002))); Costantino,
slip op. at 2 (noting that “[i]n cases of alleged fraud, the Plaintiff must state with particularity the
circumstances constituting the fraud” and denying challenge to Wayne County’s returns where, as
here, plaintiffs provided affidavits containing vague and unspecific allegations of misconduct)
(attached as Ex. 13).

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unwarranted factual inferences. Plaintiffs’ claims just don’t add up. That is not merely a practical

reality—it is a fatal substantive shortcoming.

       2.      Plaintiffs have not pleaded a cognizable equal protection claim.

       Even if Plaintiffs’ allegations were plausible, Count I would not state a viable equal

protection claim. This claim is premised on Plaintiffs’ assertion that “Wayne County’s failure to

allow challengers and its counting of ineligible and illegal ballots that did not comply with the

Michigan Election Code diluted the lawful ballots of these plaintiffs and of other Michigan voters

and electors in violation of the United States Constitution and the Michigan Constitution guarantee

of equal protection.” Compl. ¶ 77. But vote dilution is a viable basis for federal claims only in

certain contexts, such as when laws are crafted that structurally devalue one community’s votes

over another’s. See, e.g., Bognet, slip op. at 34–35 (“[V]ote dilution under the Equal Protection

Clause is concerned with votes being weighed differently.”) (attached as Ex. 15); Republican Party

of Pa. v. Cortés, 218 F. Supp. 3d 396, 406–07 (E.D. Pa. 2016); see also Reynolds v. Sims, 377 U.S.

533, 568 (1964) (“Simply stated, an individual’s right to vote for state legislators is

unconstitutionally impaired when its weight is in a substantial fashion diluted when compared with

votes of citizens living in other parts of the State.”). In these cases, which are grounded in the

Equal Protection Clause,13 plaintiffs allege that their votes are devalued as compared to similarly

situated voters in other parts of the state. See Reynolds, 377 U.S. at 567–68.

       Here, by contrast, Plaintiffs’ equal protection claim is premised on the theory that if some

unlawful absentee ballots evade detection, then the lawful ballots of all other voters are diluted.


13
  While Plaintiffs bring Count I under the Equal Protection Clauses of both the U.S. and Michigan
Constitutions, see Compl. ¶ 77; see also Mich. Const. art. I, § 2, “the equal protection guaranty of
the Michigan Constitution is applied under the same standards as the corresponding provision of
the federal constitution.” People v. Walker, 354 N.W.2d 312, 317 (Mich. Ct. App. 1984) (citing
Fox v. Mich. Emp. Sec. Comm’n, 153 N.W.2d 644, 647 (Mich. 1967)).

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But “[t]his conceptualization of vote dilution—state actors counting ballots in violation of state

election law—is not a concrete harm under the Equal Protection Clause of the Fourteenth

Amendment.” Bognet, slip op. at 33 (attached as Ex. 15). Indeed, Plaintiffs cannot identify a single

precedent adopting their theory.14 This is unsurprising: the claim of vote dilution based on fears of

potential fraud is fundamentally speculative and applies to all voters equally, making it an ill-fit

for an equal protection challenge. Cf. Mays v. LaRose, 951 F.3d 775, 785 (6th Cir. 2020) (“All

binding authority to consider the burdensome effects of disparate treatment on the right to vote has

done so from the perspective of only affected electors—not the perspective of the electorate as a

whole.”).

       Ultimately, “[t]he Constitution is not an election fraud statute.” Minn. Voters All. v. Ritchie,

720 F.3d 1029, 1031 (8th Cir. 2013) (quoting Bodine v. Elkhart Cnty. Election Bd., 788 F.2d 1270,

1271 (7th Cir. 1986)), and it “d[oes] not authorize federal courts to be state election monitors.”

Gamza v. Aguirre, 619 F.2d 449, 454 (5th Cir. 1980). Even “a deliberate violation of state election

laws by state election officials does not transgress against the Constitution.” Shipley v. Chi. Bd. of

Election Comm’rs, 947 F.3d 1056, 1062 (7th Cir. 2020). There is simply no authority for

transmogrifying the vote dilution line of cases into a requirement that the federal judiciary

micromanage election procedures and, in its zeal to enforce election statutes, disenfranchise lawful


14
  Bush v. Gore, 531 U.S. 98 (2000) (per curiam), cited by Plaintiffs in their complaint, see Compl.
¶ 76, certainly does not support their claim. In Bush, the U.S. Supreme Court considered “whether
the use of standardless manual recounts” by some, but not all, Florida counties in the aftermath of
the 2000 presidential election violated the Equal Protection Clause. Id. at 103. In addition to being
explicitly “limited to the present circumstances”—and thus not properly read as an expansion of
the protections afforded by the Equal Protection Clause—the Bush Court addressed a situation
where the counting of ballots lacked even “minimal procedural safeguards.” Id. at 109. Here, by
contrast, Michigan law provides those requisite safeguards, and so Bush is simply inapposite. And
Harper v. Va. State Bd. of Elections, 383 U.S. 663 (1966), also cited by Plaintiffs, see Compl. ¶ 77,
was a case about poll taxes that had nothing to do with Plaintiffs’ theory of vote dilution.


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voters based on nothing more than speculative and unpersuasive allegations of voter fraud. “That

is not how the Equal Protection Clause works.” Bognet, slip op. at 35 (attached as Ex. 15); cf. Short

v. Brown, 893 F.3d 671, 677–78 (9th Cir. 2018) (“Nor have the appellants cited any authority

explaining how a law that makes it easier to vote would violate the Constitution.”).15 To the

contrary, courts have routinely—and appropriately—rejected such efforts. See Minn. Voters All.,

720 F.3d at 1031–32 (affirming Rule 12(b)(6) dismissal of vote dilution claim); see also Partido

Nuevo Progresista v. Perez, 639 F.2d 825, 827–28 (1st Cir. 1980) (per curiam) (rejecting challenge

to purportedly invalid ballots because “case does not involve a state court order that

disenfranchises voters; rather it involves a [] decision that enfranchises them—plaintiffs claim that

votes were ‘diluted’ by the votes of others, not that they themselves were prevented from voting”);

Boockvar, 2020 WL 5997680, at *67–68 (rejecting Trump Campaign’s equal protection challenge

to poll-watcher restrictions grounded in vote-dilution theory because restrictions did not burden

fundamental right, including right to vote, or discriminate based on suspect classification); Cook

Cnty. Republican Party v. Pritzker, No. 20-cv-4676, 2020 WL 5573059, at *4 (N.D. Ill. Sept. 17,

2020) (denying motion to enjoin law expanding deadline to cure votes because plaintiffs did not

show how alleged voter fraud would dilute their votes); Cortés, 218 F. Supp. 3d at 406–07

(rejecting requested expansion of poll-watcher eligibility based on premise that voter fraud would

dilute weight of plaintiffs’ votes).

        Because Plaintiffs have failed to articulate a cognizable equal protection claim, Count I

should be dismissed.


15
  Indeed, “if dilution of lawfully cast ballots by the ‘unlawful’ counting of invalidly cast ballots
‘were a true equal-protection problem, then it would transform every violation of state election
law (and, actually, every violation of every law) into a potential federal equal-protection claim
requiring scrutiny of the government’s “interest” in failing to do more to stop the illegal activity.’”
Bognet, slip op. at 34 (quoting Boockvar, 2020 WL 5997680, at *46) (attached as Ex. 15).

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       3.      Plaintiffs’ Election Code claim fails as a matter of law.

       Count III of Plaintiffs’ complaint alleges that Defendants violated Michigan laws relating

to election challengers by “denying Republican challengers’ rights to meaningfully observe and

participate in the ballot processing and counting process.” Compl. ¶¶ 85–88. But they identify no

law or precedent that gives them a private right of action to vindicate these interests or otherwise

use the judiciary to enact their preferred level of electoral scrutiny. See Polasek-Savage, slip op.

at 3 (“[I]t is not apparent plaintiffs have a clear legal right to request that their chosen number of

election challengers be permitted at an absent voter counting board.”) (attached as Ex. 10); Kraus

v. Cegavske, No. 20 OC 00142 1B, slip op. at 11 (Nev. Dist. Ct. Oct. 29, 2020) (denying mandamus

because Trump Campaign and others “failed to cite any constitutional provision, statute, rule, or

case that supports . . . request” for increased access to mail ballot processing and counting)

(attached as Ex. 16), stay denied, No. 82018 (Nev. Nov. 3, 2020); Cortés, 218 F. Supp. 3d at 413–

14 (similar). Even if they could bring this claim, Plaintiffs never allege that Republican or any

other challengers were altogether deprived of the opportunity to fulfill their statutory roles, or that

there were insufficient Republican challengers at TCF Center. Cf. Compl. ¶¶ 27–29 (alleging only

that certain challengers were denied access, not that overall number of challengers was

insufficient). Nor have Plaintiffs identified any statutory provisions or other authority that require

the level of access to which they now claim they were entitled, let alone suggest that election

officials’ employment of basic social-distancing guidelines precluded meaningful observation.

       Moreover, individuals have no legal right to serve as challengers, as recent court

decisions—some involving the Trump Campaign itself—have underscored. See, e.g., Boockvar,

2020 WL 5997680, at *67 (“[T]here is no individual constitutional right to serve as a poll watcher.”

(quoting Pa. Democratic Party v. Boockvar, No. 133 MM 2020, 2020 WL 5554644, at *30 (Pa.



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Sept. 17, 2020))); Cortés, 218 F. Supp. 3d at 408 (similar); Cotz v. Mastroeni, 476 F. Supp. 2d.

332, 364 (S.D.N.Y. 2007) (collecting cases and concluding that “poll watching . . . has no distinct

First Amendment protection”).

        Even if Plaintiffs could assert claims under the Michigan Election Code’s challenger

provisions, they seek a remedy totally divorced from these laws. To remedy the procedural

violations Defendants allegedly facilitated—which, for the most part, consisted of the refusal to

allow observers to stand marginally closer to what they were observing—Plaintiffs seek to restrain

certification of Wayne County’s returns, an astonishing request wholly unmoored from Michigan’s

Election Code. Indeed, the consequences of violating the challenger provisions are clear,

unequivocal, and do not provide the relief Plaintiffs seek. Specifically,

        [a]ny officer or election board who shall prevent the presence of any such
        challenger as above provided, or shall refuse or fail to provide such challenger with
        conveniences for the performance of the duties expected of him, shall, upon
        conviction, be punished by a fine not exceeding $1,000.00, or by imprisonment in
        the state prison not exceeding 2 years, or by both such fine and imprisonment in the
        discretion of the court.

Mich. Comp. Laws § 168.734. Michigan law does not contemplate a complete cessation of

certification or the sort of judicial intervention Plaintiffs seek in their prayer for relief. See Compl.

30–31. And Plaintiffs identify no other authority permitting such a drastic remedy for perceived

violations of Michigan’s Election Code.16


16
  Although not clearly tied to Count III, Plaintiffs ask this Court for “[a]n order directing the board
of county canvassers and the board of state canvassers, with challengers present and meaningfully
able to observe, to obtain and review the video of unattended remote ballot drop boxes.” Compl.
31; see also id. ¶¶ 56–59 (describing drop box requirements). But Plaintiffs identify no authority,
statutory or otherwise, conferring this privilege. Indeed, it is “[t]he city or township clerk” who
“must use video monitoring of [any outdoor] drop box to ensure effective monitoring of that drop
box,” not election challengers or anyone else. Mich. Comp. Laws § 168.761d(4)(c) (emphasis
added). Similarly, although the complaint includes allegations regarding the “Dominion Voting
Systems election management system and voting machines,” Compl. ¶¶ 60–67, it conspicuously
lacks any authority entitling Plaintiffs “to observe when the accuracy of each piece of tabulating


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       4.       Plaintiffs have not pleaded a viable claim under the Elections and Electors
                Clauses.

       Finally, Count II—Plaintiffs’ claim under the Elections and Electors Clauses, see Compl.

¶¶ 81–84—also fails as a matter of law. As discussed above, Plaintiffs lack Article III and

prudential standing to assert a claim under these provisions. See Part IV.C.1–2 supra. And even if

they had standing, Count II is predicated entirely on the alleged statutory violations contained in

Count III. See Compl. ¶¶ 83–84. The claims therefore rise and fall together, and Count II must also

be dismissed.

       In any event, even accepting Plaintiffs’ allegations as true, not every violation of a state’s

election code triggers a constitutional claim. It simply cannot be the case, as Plaintiffs suggest, that

any deviation from statutory election procedures, no matter how limited, automatically constitutes

a violation of the Elections and Electors Clauses because the election was not held in the “Manner”

prescribed by the Legislature. Plaintiffs do not claim a wholesale or systematic departure from the

Election Code; instead, they allege at most only isolated deviations, many relating to protocols

motivated by the exigencies of conducting an election during an unprecedented pandemic. Cf. Wise

v. Circosta, Nos. 20-2104, 20-2107, 2020 WL 6156302, at *18 (4th Cir. Oct. 20, 2020) (en banc)

(Wilkinson & Agee, JJ., dissenting) (“We do not question the ability of . . . state election boards[]

to make minor ad hoc changes to election rules in response to sudden emergencies.”). Plaintiffs’

allegations, therefore, do not give rise to a violation of these constitutional provisions.

E.     Plaintiffs are not entitled to the relief they seek.

       Even if this Court had jurisdiction over this matter, and Plaintiffs had pleaded viable causes

of action, they would not be entitled to the extraordinary relief they seek. Rather than remedying



equipment is determined,” id. at 30, or even any suggestion that these machines experienced issues
in Wayne County.

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a constitutional violation, their requested relief would in fact violate Michiganders’ constitutional

rights. Accordingly, the Court should strike Plaintiffs’ prayer for relief to the extent that it denies

eligible Michigan voters their fundamental right to vote.

       Plaintiffs ask this Court to enjoin Defendants from certifying Michigan’s results “until they

have verified and confirmed that all ballots that were tabulated and included in the final reported

election results were cast in compliance with the provisions of the Michigan Election Code as set

forth herein.” Compl. 30. This Court could not grant such relief even if it found in Plaintiffs’ favor.

The ballots have been processed and removed from their envelopes (which are the only sources of

identifying information), and thus there is no way to identify, let alone isolate, ballots that were

“meaningfully” observed by the Trump Campaign’s observers during the canvassing process.

Plaintiffs are simply too late; the count has concluded, the votes have been tallied, and the genie

cannot be put back in the bottle.

       Nor is Plaintiffs’ extraordinary request to enjoin Defendants from certifying the election a

proper remedy. It is only in the rarest of circumstances that federal courts have taken such drastic

measures to prevent the certification of results, and only where the evidence established that there

was a fundamental failure of the electoral process. See Stein v. Cortés, 223 F. Supp. 3d 423, 438

(E.D. Pa. 2016) (collecting cases). Plaintiffs’ allegations do not give rise to the type of systemic

fraud or constitutional violations that might justify such drastic relief. Instead, to the extent the

Trump Campaign “alleges that the candidate is aggrieved on account of fraud or mistake in the

canvass of the votes,” it is not without remedy and can instead pursue a recount under Michigan

Compiled Laws section 168.872. See Costantino, slip op. at 10–12 (describing remedies under

Michigan law for election challenges) (attached as Ex. 13). Accordingly, because Plaintiffs’

gambit to circumvent the will of the Michigan electorate “has no essential or important relationship



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to the claim for relief,” their prayer for relief reflecting this inordinate request should be dismissed

or, in the alternative, stricken under Rule 12(f) as immaterial. Rees v. PNC Bank, N.A., 308 F.R.D.

266, 271 (N.D. Cal. 2015) (quoting Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993));

see also, e.g., Williamsburg Commons Condo. Ass’n v. State Farm Fire & Cas. Co., 907 F. Supp.

2d 673, 680 (E.D. Pa. 2012) (granting motion to dismiss requested relief).

       Plaintiffs’ requested relief would also violate the constitutional rights of Michigan voters.

Reading their allegations and prayer for relief as a whole, what Plaintiffs truly seem to seek is the

wholesale discarding of hundreds of thousands of Michigan ballots in Wayne County alone. Even

if Plaintiffs’ allegations were true (they are not) and there were isolated and sporadic incidents in

which Michigan’s election laws were violated—not by the voters, but by election workers—this

could not possibly justify the widescale disenfranchisement of Michiganders. See Ne. Ohio Coal.

for Homeless v. Husted, 696 F.3d 580, 595, 597–98 (6th Cir. 2012) (concluding that rejection of

ballots invalidly cast due to poll worker error likely violates due process); cf. Bognet, slip op. at 8

(considering election challenge “with commitment to a proposition indisputable in our democratic

process: that the lawfully cast vote of every citizen must count”) (attached as Ex. 15). Throwing

out ballots of lawful Michigan voters that were not tabulated pursuant to Plaintiffs’ preferred

procedures “would be both outrageous and completely unnecessary.” Stein, 223 F. Supp. 3d at

442; see also Gallagher v. N.Y. State Bd. of Elections, No. 20-5504 (AT), 2020 WL 4496849, at

*16 (S.D.N.Y. Aug. 3, 2020) (rejecting “grossly overinclusive” election scheme that would “not

meaningfully advance the state interest at issue”). This remedy would violate Michiganders’

fundamental voting rights, including the Michigan Constitution’s self-executing right to vote

absentee, Mich. Const. art. II, § 4(1)(g), which voters passed in 2018 by an overwhelming popular

vote and took advantage of in unprecedented numbers during this past election.



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       Because it is both unjustifiably drastic and threatens the constitutional rights of Michigan

voters, Plaintiffs’ prayer for relief should be stricken or, in the alternative, dismissed. See Rees,

308 F.R.D. at 271.

                                     V.      CONCLUSION

       For the foregoing reasons, Proposed Intervenor-Defendants DNC and Michigan

Democratic Party respectfully request that the Court dismiss Plaintiffs’ complaint.




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Dated: November 14, 2020.             Respectfully submitted,

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